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     Attorneys for Counter-Defendant NEMAN BROTHERS & ASSOC., INC.
 6

 7                              UNITED STATES DISTRICT COURT

 8                             CENTRAL DISTRICT OF CALIFORNIA

 9
     NEMAN BROTHERS & ASSOC.,                              Case No.: 2:20-cv-11181-CAS-JPR
10
     INC., a California Corporation,
                                                           EVIDENTIARY OBJECTION TO
11                                                         DECLARATION OF GONGWEI XIAO
                  Plaintiff,
12                v.

13                                                         Date: December 6, 2021
     INTERFOCUS, INC. d.b.a.
                                                           Time: 10 a.m.
     www.patpat.com, a Delaware
14
     Corporation; CAN WANG, and
15   individual, and DOES 1-10, inclusive.,

16                 Defendants.
     ---------------------------------------------------
17   INTERFOCUS, INC. d.b.a.
     www.patpat.com, a Delaware
18
     Corporation; CAN WANG, an
19   individual, and DOES 1-10, inclusive,

20                Counterclaim Plaintiffs,
                  v.
21
     NEMAN BROTHERS & ASSOC.,
22
     INC., a California Corporation;
23
                      Counterclaim Defendant.
24

25


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                    EVIDENTIARY OBJECTION TO DECLARATION OF GONGWEI XIAO
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 1                                EVIDENTIARY OBJECTIONS

 2

 3        MATERIAL OBJECTED TO                    GROUNDS FOR                   COURT’S

 4                                                   OBJECTION                   RULING

 5   1. I am the manager for Guangzhou       lack of disclosure on the

 6                                           FRCP rule 26 and rule 37        Sustained: ____
     Xinqi Yijian Garment Co. Ltd.
 7                                           (Interfocus never identified    Overruled:____
     (“Xinqi”), a supplier to Interfocus
 8                                           or disclosed this person as a
     Inc. (“Interfocus”).
 9                                           potential witness until the

10                                           date of filing this

11   I have personal knowledge of the        declaration.)

12   following facts except where
13
     otherwise indicated, and if called
14
     upon as a witness, I could and would
15
     competently testify thereto.
16

17

18   2. Xinqi supplied these two garments hearsay / lack of foundation Sustained: ____
19                                           / documents (transaction        Overruled:____
     to Interfocus (see below).
20                                           records) speak for

21                                           themselves. / “supplied” is

22                                           vague

23

24

25


                                           2
                 EVIDENTIARY OBJECTION TO DECLARATION OF GONGWEI XIAO
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 1   3. Xinqi sourced the fabric to make    lack of foundation /             Sustained: ____

 2                                          documents (transaction           Overruled:____
     this garment from HengZhou Fabric
 3                                          records) speak for
     Company in Hengzhou, Guangxi,
 4                                          themselves. / “sourced” is
     China.
 5                                          vague / hearsay

 6

 7   Hengzhou informed me it acquired       hearsay / lack of personal

 8   the fabrics from the largest open      knowledge / “open market”

 9                                          is vague Vega as to the
     fabric market in Guangzhou,
10                                          time and identity of the
     Guangdong, China.
11                                          seller of the fabric lack of

12                                          foundation / documents

13                                          (transaction records) speak

14                                          for themselves.

15

16   4. In addition, this fabric and very   Irrelevant (the so-called        Sustained: ____
17
     similar fabrics are available on the very similar designs
18                                          available online in the past     Overruled:____
     internet. I have seen multiple
19                                          2 years prove only there
     offerings of garments in such
20                                          were many illegal copies in
21   fabrics on Aliexpress in the past      China for the last 2 years.) /
22   two years.                             these statements, with no
23                                          further evidence, imply
24                                          speculations that those
25


                                            3
                  EVIDENTIARY OBJECTION TO DECLARATION OF GONGWEI XIAO
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 1                                          similar fabrics were

 2                                          manufactured with

 3                                          authorization by Neman

 4                                          Brothers or for similar

 5                                          patterns more

 6                                          independently created. /

 7                                          irrelevant / lack of

 8                                          foundation

 9

10
     Please see Exhibits A & B attached,
11                                          the linked pages, with no
     which are also shown at the links
12                                          further evidence, imply

13   below.                                 speculations that those

14   https://fr.aliexpress.com/item/32958   similar fabrics were

15   377875.html?spm=a2g0o.detail.100       manufactured with

16                                          authorization by Neman
     0023.
17                                          Brothers or for similar
     9.b4295098SJ0UVa
18                                          patterns more
     https://fr.aliexpress.com/item/33028
19                                          independently created. /

20   418342.html?spm=a2g0o.detail.100       lack of foundation as to

21   0060.                                  identity and authenticity /

22   3.7ad724b3Eu95sU&gps                   lacks court-certified

23                                          translation of the statements
24                                          in foreign language
25


                                          4
                EVIDENTIARY OBJECTION TO DECLARATION OF GONGWEI XIAO
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 1   id=pcDetailBottomMoreThisSeller&
 2
     scm=1007.13339.169870.0&scm_id
 3
     =10
 4
     07.13339.169870.0&scm-
 5

 6   url=1007.13339.169870.0&pvid=86

 7   e01a6d-c056-
 8   4e57-9172-cd2c5e2ab7e9&_t=gps-
 9
     id:pcDetailBottomMoreThisSeller,sc
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     url:1007.13339.169870.0,pvid:86e01
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13   a6d-c056-4e57-9172-

14   cd2c5e2ab7e9,tpp_buckets:668%23
15   2846%238115%232000&&pdp_ext
16
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     7B%22sceneId%22:%223339%22,
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     %22sku_id%22:%2267206599644%
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24
     IT IS SO ORDERED.
25


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               EVIDENTIARY OBJECTION TO DECLARATION OF GONGWEI XIAO
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 1

 2   Dated:

 3                                          ________________________
 4                                          Honorable Judge Christina A. Snyder
                                            United States District Court
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               EVIDENTIARY OBJECTION TO DECLARATION OF GONGWEI XIAO
